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                                                                                                  ADMITTED TRIAL EXHIBITS

      TRIAL EXHIBIT NO.                               DESCRIPTION                                             BEGBATES                                ENDBATES         ADMITTED       COURT'S LIMITING                SEALING
                                                                                                                                                                                        INSTRUCTION
             DX301        FreeWAIS‐sf 2.0 distribution                                           FUHRNDCA630‐00000001                   FUHRNDCA630‐00000001           4/15/2014
             DX304        Tung, Expansion of the FreeWAIS Server , and English translation       SAMNDCA630‐04385219                    SAMNDCA630‐04385406            4/15/2014   Not prior art to '959
                                                                                                 FUHRNDCA630‐00000013                   FUHRNDCA630‐00000200                       patent
                                                                                                 SAMNDCA630‐06029163                    SAMNDCA630‐06029352
             DX305        Summary of Ulrich Pfeifer materials corroborating public knowledge     PFEIFERNDCA‐00000392                   PFEIFERNDCA‐00000392           4/15/2014   Not to be considered for
                          and use of FreeWAIS‐sf 2.0 in the United States                        PFEIFERNDCA‐00000487                   PFEIFERNDCA‐00000487                       the truth of what is
                                                                                                 PFEIFERNDCA‐00000511                   PFEIFERNDCA‐00000511                       stated
                                                                                                 PFEIFERNDCA‐00000566                   PFEIFERNDCA‐00000566
                                                                                                 PFEIFERNDCA‐00001602                   PFEIFERNDCA‐00001602
                                                                                                 PFEIFERNDCA‐00001976                   PFEIFERNDCA‐00001976
                                                                                                 PFEIFERNDCA‐00002019                   PFEIFERNDCA‐00002019
                                                                                                 PFEIFERNDCA‐00002104                   PFEIFERNDCA‐00002104
                                                                                                 PFEIFERNDCA‐00003905                   PFEIFERNDCA‐00003907
                                                                                                 PFEIFERNDCA‐00004613                   PFEIFERNDCA‐00004614
                                                                                                 PFEIFERNDCA‐00004997                   PFEIFERNDCA‐00004997
                                                                                                 PFEIFERNDCA‐00000008 at 110,           PFEIFERNDCA‐00000008 at 110,
                                                                                                 161, 181, 207, 592, 602, 710           161, 181, 207, 592, 602, 710
             DX308        E‐mail from Maryam Garrett to Hiroshi Lockheimer re: Information       GOOG‐NDCAL630‐00065845                 GOOG‐NDCAL630‐00065869         4/11/2014
                          regarding Android Search
             DX311        Proceedings for Wide Area Information Server Workshop, MCNC            KAHLENDCA630‐00013891                  KAHLENDCA630‐00014007          4/15/2014
                          Conference
             DX312        Wide Area Information Servers (WAIS) launch lecture at Xeros PARC      SAMNDCA630‐04526333                    SAMNDCA630‐04526333            4/15/2014

             DX313        March 14, 1997 e‐mail from Ulrich Pfeifer to a number of people re:    PFEIFERNDCA630‐00004625                PFEIFERNDCA630‐00004626        4/15/2014
                          "freeWAIS‐sf (hosts)"
             DX314A       Selections from Windows Mobile 5 source code from bates range          MSFT_CODE0000170‐00416                 MSFT_CODE0000170‐00416         4/21/2014                              Sealed in its entirety
                          MSFT_CODE000170 to MSFT_CODE003225                                     MSFT_CODE0001127‐01666                 MSFT_CODE0001127‐01666
                                                                                                 MSFT_CODE0002023‐02025                 MSFT_CODE0002023‐02025
                                                                                                 MSFT_CODE0002089‐02803                 MSFT_CODE0002089‐02803
                                                                                                 MSFT_CODE0002956‐02957                 MSFT_CODE0002956‐02957
                                                                                                 MSFT_CODE0002996‐03225                 MSFT_CODE0002996‐03225
             DX315        Summary of Windows Mobile press releases                               N/A                                    N/A                            4/18/2014   Not to be considered for
                                                                                                                                                                                   the truth of what is
                                                                                                                                                                                   stated
             DX316        Windows Mobile sales records                                           MSFT‐00630‐001175                      MSFT‐00630‐001175              4/18/2014                              Sealed in its entirety
             DX317        Selection of Microsoft TechNet articles                                SAMNDCA630‐00948288                    SAMNDCA630‐00948293            4/18/2014
                                                                                                 SAMNDCA630‐05347297                    SAMNDCA630‐05347297
                                                                                                 SAMNDCA630‐07887096                    SAMNDCA630‐07887109
             DX319        SUSE 10.0 / Evolution 2.4 software                                     NOVELLNDCA630‐00000001                 NOVELLNDCA630‐00000001         4/18/2014
             DX320A       SUSE 10.0 / Evolution 2.4 source code                                  NOVELLNDCA630‐00000002                 NOVELLNDCA630‐00000002         4/21/2014
             DX321        Summary of SUSE 10.0 press releases                                    N/A                                    N/A                            4/18/2014   Not to be considered for
                                                                                                                                                                                   the truth of what is
                                                                                                                                                                                   stated
             DX326        Hill, Microsoft Smart Client Architecture & Design Guide               SAMNDCA630‐00949126                    SAMNDCA630 ‐00949337           4/18/2014
             DX327        Google Android Software Functional Requirements                        GOOG‐NDCAL630‐00065439                 GOOG‐NDCAL630‐00065483         4/11/2014




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                                                                                                 ADMITTED TRIAL EXHIBITS

      TRIAL EXHIBIT NO.                                DESCRIPTION                                           BEGBATES                                ENDBATES          ADMITTED    COURT'S LIMITING           SEALING
                                                                                                                                                                                     INSTRUCTION
             DX330        Sidekick 1.5 Owner’s Handbook                                         FRIDNIELNDCA630‐00006937 or            FRIDNIELNDCA630‐00007065 or     4/14/2014
                                                                                                SAMNDCA630‐00808758                    SAMNDCA630‐00808886
             DX331        Sidekick 1.56A Source Code                                            FRIDNIELNDCA630‐00009433\SK v          FRIDNIELNDCA630‐00009433\SK v   4/14/2014
                                                                                                1 56\Source Code\                      1 56\Source Code\
             DX332        Sidekick 1.56A Executable                                             FRIDNIELNDCA630‐00009433\SK v          FRIDNIELNDCA630‐00009433\SK v   4/14/2014
                                                                                                1 56\SK\                               1 56\SK\
             DX334        Summary of '647 Inventor Emails                                       MILLER00000064/APLNDC630‐              MILLER00000064/APLNDC630‐       4/15/2014
                                                                                                0000133392                             0000133392
                                                                                                MILLER00000063/APLNDC630‐              MILLER00000063/APLNDC630‐
                                                                                                0000133393                             0000133393
                                                                                                MILLER00000133/APLNDC630‐              MILLER00000133/APLNDC630‐
                                                                                                0000098807                             0000098807




             DX335        Email dated 4/20/2007 from Grace Kloba to Dianne Hackborn copying     GOOG‐NDCAL630‐00039288                 GOOG‐NDCAL630‐00039289          4/14/2014
                          Cary Clark
             DX336        Project Android Activities and Intents                                GOOG‐NDCAL630‐00001806                 GOOG‐NDCAL630‐00001820          4/14/2014                      Sealed in its entirety
             DX338        Bier, Embedded Buttons: Supporting Buttons in Documents               SAMNDCA630‐04320879                    SAMNDCA630‐04320905             4/15/2014
             DX339        CHI ’91 Conference Proceedings: Reaching Through Technology           SAMNDCA630‐06443618                    SAMNDCA630‐06443886             4/15/2014
             DX341        CHI ’91 video program: Reaching Through Technology                    SAMNDCA630‐07274705                    SAMNDCA630‐07274705             4/15/2014
             DX342        Neonode Quick Start Guide and download page for same (Exhibit A to    N/A                                    N/A                             4/14/2014
                          the 6/25/13 Affidavit of Christopher Butler)
             DX343        Plaisant Video CHI ’92                                                PLAISANTNDCA‐00000002                  PLAISANTNDCA‐00000002           4/15/2014
             DX344        Plaisant & Wallace, Touchscreen Toggle Design                         SAMNDCA630‐00001325                    SAMNDCA630‐00001326             4/15/2014
             DX345        iPhone 5 running iOS 7                                                N/A                                    N/A                             4/25/2014
             DX346        Physical Exhibit: Samsung Dart (model SGH‐T499)                       N/A                                    N/A                             4/15/2014
             DX351A       Apple Accused Products Application Processor User Manual                                                                                     4/21/2014                      Sealed in its entirety
                          Compilation (Excerpt)
             DX352A       Apple Accused Product Schematics Compilation                                                                                                 4/21/2014                      Sealed in its entirety
             DX353A       Baseband Processor/RF Transceiver Compilation                                                                                                4/21/2014                      Sealed in its entirety
             DX354A       Apple Accused Product Bills of Materials (“BOM”) Compilation                                                                                 4/21/2014                      Sealed in its entirety
              DX371       X‐Gold Product 616 Product Brief (Intel)                              593DOC000323                           593DOC000324                    4/21/2014                      Sealed in its entirety
              DX377       iPhone Buyer Survey, FY13Q2                                           APLNDC630‐0001233246                   APLNDC630‐0001233405             4/4/2014                      Sealed except
                                                                                                                                                                                                      DX377.012, .015, .024,
                                                                                                                                                                                                      .028
           DX391A         Summary of Samsung's Feature Patent Damages Calculations              N/A                                    N/A                             4/22/2014                      Sealed in its entirety
            DX404         Point of Sale influence on smartphone buyers                          APLNDC‐Y0000025232                     APLNDC‐Y0000025304              4/11/2014
       (only page .006)
            DX405         iPhone Offsite                                                        APLNDC630‐0001467518                   APLNDC630‐0001467580            4/4/2014                       Sealed except
                                                                                                                                                                                                      DX405.014, .032




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      TRIAL EXHIBIT NO.                                DESCRIPTION                                               BEGBATES                                ENDBATES   ADMITTED    COURT'S LIMITING            SEALING
                                                                                                                                                                                  INSTRUCTION
             DX407        Samsung's brand update                                                    APLNDC630‐0001351415                   APLNDC630‐0001351428     4/4/2014                       Sealed except
                                                                                                                                                                                                   DX407.002, .003, .004,
                                                                                                                                                                                                   .005
             DX408A       Email from Vincent to Schiller et al email re Has Apple lost its cool?    APLNDC630‐0000845537                   APLNDC630‐0000845543     4/4/2014
                          (Redacted)
             DX409        Email from Vincent to Schiller re Marcom tomorrow                         APLNDC630‐0001397337                   APLNDC630‐0001397338     4/4/2014
             DX410        Email from Cook to Schiller re Why aren't you fighting back?              APLNDC630‐0001374551                   APLNDC630‐0001374552     4/4/2014
             DX411        iPhone Review                                                             APLNDC630‐0001697453                   APLNDC630‐0001697537     4/8/2014                       All pages sealed except
                                                                                                                                                                                                   1, 2, 4, 5, 10, 11, 13, 14,
                                                                                                                                                                                                   25 and 32
             DX413        FY' 14 Planning Offsite                                                   APLNDC630‐0001849558                   APLNDC630‐0001849678     4/4/2014                       Sealed except
                                                                                                                                                                                                   DX413.001, .008, .014,
                                                                                                                                                                                                   .046
             DX415        Supply Issues that impacted Q2' 13 ST                                     APLNDC630‐0001075325                   APLNDC630‐0001075325     4/8/2014                       Sealed in its entirety
             DX418        Smartphone Market Study US                                                APLNDC630‐0000127665                   APLNDC630‐0000127691     4/4/2014                       Sealed except
                                                                                                                                                                                                   DX418.002, .019, .020,
                                                                                                                                                                                                   .021
             DX431        STA Marketing ‐ CFO Update                                                SAMNDCA11547471                        SAMNDCA11547505          4/14/2014                      Pages 6, 30, 33 and 35
                                                                                                                                                                                                   sealed

             DX432        Samsung Galaxy Note II UX Research                                        SAMNDCA630‐07395323                    SAMNDCA630‐07395367      4/21/2014                      Pages 5‐7, 9‐13, 15‐34,
                                                                                                                                                                                                   40‐42, and 44‐45 sealed
             DX433        GSIII Early Customer Profile Insights ‐ Initial Launch Report             SAMNDCA630‐06701998                    SAMNDCA630‐06702014      4/18/2014                      Pages 3‐6, 9‐13, 16‐17
                                                                                                                                                                                                   sealed
             DX435        Samsung Tablets & Phones Final Presentation                               SAMNDCA11086713                        SAMNDCA11086917          4/14/2014                      Pages 12, 15, 17‐27, 41,
                                                                                                                                                                                                   44‐45, 47‐49, 51, 55, 57,
                                                                                                                                                                                                   61‐62, 65, 68‐69, 71‐72,
                                                                                                                                                                                                   76, 77, 79, 82, 86, 87, 89‐
                                                                                                                                                                                                   92, 94, 99‐103, 105, 111,
                                                                                                                                                                                                   114, 119, 120, 123, 125,
                                                                                                                                                                                                   130‐132, 134, 140, 142,
                                                                                                                                                                                                   145‐146, 150, 154‐158,
                                                                                                                                                                                                   164‐166, 170‐173, 175,
                                                                                                                                                                                                   176, 179‐186, 190‐193,
                                                                                                                                                                                                   196, 198‐200, 205 sealed

             DX444        iPhone 4 Press Release                                                    N/A                                    N/A                       4/4/2014
             DX445        iPhone 4S Press Release                                                   N/A                                    N/A                       4/4/2014
             DX446        iPhone 5 Press Release                                                    N/A                                    N/A                       4/4/2014
             DX447        “Samsung Next Big Thing Super Bowl Full Ad with Seth Rogen, Paul          N/A                                    N/A                      4/14/2014
                          Rudd, and Lebron James”
             DX451        Apple 2011 10‐K                                                           N/A                                    N/A                      4/8/2014




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      TRIAL EXHIBIT NO.                                       DESCRIPTION                                          BEGBATES                                ENDBATES      ADMITTED            COURT'S LIMITING                SEALING
                                                                                                                                                                                               INSTRUCTION
             DX452               Smartphone purchase influencers at retail                            APLNDC630‐0001321529                   APLNDC630‐0001321594        4/18/2014                                   Sealed in its entirety,
                                                                                                                                                                                                                     except for page 21
             DX453A              Summary of Dr. Judith Chevalier’s Damages Calculations               N/A                                    N/A                         4/21/2014                                   Pages 2, 5, 6, 12, and 14
                                                                                                                                                                                                                     sealed
             DX454A              Transcript Excerpts from Dr. Reibstein's Pretest of Dr. Hauser's     N/A                                    N/A                         4/18/2014        Not to be considered for
                                 Conjoint Study                                                                                                                                           the truth of what is
                                                                                                                                                                                          stated
             DX457               Excerpted pages of iPhone Buyer Surveys FY 2010‐FY 2013              APLNDC630‐0001438833                   APLNDC630‐0001438960        4/18/2014                                   All pages sealed, except
                                                                                                      APLNDC‐Y0000026687                     APLNDC‐Y0000026807                                                      pages 1, 9, 11, 17, 21, 25,
                                                                                                      APLNDC‐Y0000027136                     APLNDC‐Y0000027255                                                      29, 34, 36, 38, 40, 42, 44,
                                                                                                      APLNDC0002734025                       APLNDC0002734109                                                        46 and 48
                                                                                                      APLNDC630‐0001437744                   APLNDC630‐0001437826
                                                                                                      APLNDC0000036266                       APLNDC0000036348
                                                                                                      APLNDC0001351087                       APLNDC0001351180
                                                                                                      APLNDC630‐0001439288                   APLNDC630‐0001439387
                                                                                                      APLNDC630‐0000149470                   APLNDC630‐0000149605
                                                                                                      APLNDC630‐0000167955                   APLNDC630‐0000168090
                                                                                                      APLNDC630‐0000870318                   APLNDC630‐0000870456
                                                                                                      APLNDC630‐0001233115                   APLNDC630‐0001233245
                                                                                                      APLNDC630‐0001233406                   APLNDC630‐0001233487
                                                                                                      APLNDC630‐0000937009                   APLNDC630‐0000937168
             DX459A              “Tim Cook Apologizes for Apple’s Maps,” by Brian X. Chen, The New    N/A                                    N/A                          4/4/2014
                                 York Times, September 28, 2012
             DX489               Summary of Apple materials regarding competitive analysis            APLNDC630‐0001871927                   APLNDC630‐0001871935     4/4/2014 (pages                                All pages sealed except
     (only pages .001‐.009,                                                                           APLNDC630‐0001871984                   APLNDC630‐0001872005         .245‐.248)                                 3, 14, and 245‐248
   .010‐.028, .032‐ 055, .068‐                                                                        APLNDC630‐0001912351                   APLNDC630‐0001912374     4/18/2014 (pages
         091, 245‐.248)                                                                               APLNDC630‐0001912375                   APLNDC630‐0001912386      .001‐.009, .010‐
                                                                                                      APLNDC630‐0001912304                   APLNDC630‐0001912327      .028, 032‐.055,
                                                                                                      APLNDC630‐0001912328                   APLNDC630‐0001912350         .068‐.091)
                                                                                                      APLNDC630‐0001912287                   APLNDC630‐0001912303
                                                                                                      APLNDC630‐0001912058                   APLNDC630‐0001912077
                                                                                                      APLNDC630‐0001912078                   APLNDC630‐0001912098
                                                                                                      APLNDC630‐0001912099                   APLNDC630‐0001912123
                                                                                                      APLNDC630‐0001912124                   APLNDC630‐0001912156
                                                                                                      APLNDC630‐0001912236                   APLNDC630‐0001912249
                                                                                                      APLNDC630‐0001195522                   APLNDC630‐0001195525




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      TRIAL EXHIBIT NO.                                DESCRIPTION                                              BEGBATES                                ENDBATES   ADMITTED    COURT'S LIMITING           SEALING
                                                                                                                                                                                 INSTRUCTION
             DX490A       Apple Accused Products User Guide Compilation                          APL630DEF‐WH0000026660                   APL630DEF‐WH0000026933   4/21/2014
                                                                                                 APL630DEF‐WH0001757766                   APL630DEF‐WH0001757963
                                                                                                 APL630DEF‐WH0001757964                   APL630DEF‐WH0001758100
                                                                                                 APL630DEF‐WH0001758169                   APL630DEF‐WH0001758309
                                                                                                 APL630DEF‐WH0001758342                   APL630DEF‐WH0001758497
                                                                                                 APL630DEF‐WH0001758833                   APL630DEF‐WH0001759062
                                                                                                 APL630DEF‐WH0001759063                   APL630DEF‐WH0001759241
                                                                                                 APL630DEF‐WH0001759242                   APL630DEF‐WH0001759378
                                                                                                 APL630DEF‐WH0001759379                   APL630DEF‐WH0001759522
                                                                                                 APL630DEF‐WH0004396739                   APL630DEF‐WH0004396740
                                                                                                 APL630DEF‐WH0004397691                   APL630DEF‐WH0004397778
             DX491A       Apple Accused Product Camera Sensor DataSheet Compilation              OMNI 0866                                OMNI 1004                4/21/2014                      Sealed in its entirety
                                                                                                 OMNI 0241                                OMNI 0407
                                                                                                 OMNI 0483                                OMNI 0585
                                                                                                 OMNI 0586                                OMNI 0673
                                                                                                 APL630DEF‐WH0000097566                   APL630DEF‐WH0000097727
                                                                                                 APL630DEF‐WH0005226539                   APL630DEF‐WH0005226707
                                                                                                 APL630DEF‐WH0000097942                   APL630DEF‐WH0000098045
                                                                                                 APL630DEF‐WH0000097306                   APL630DEF‐WH0000097400
                                                                                                 APL630DEF‐WH0000098046                   APL630DEF‐WH0000098143
                                                                                                 APL630DEF‐WH0005224613                   APL630DEF‐WH0005224751
                                                                                                 APL630DEF‐WH0005224752                   APL630DEF‐WH0005224847
                                                                                                 APL630DEF‐WH0005214335                   APL630DEF‐WH0005214457
             DX492        U.S. Patent No. 7,880,730 to Robinson                                  SAMNDCA630‐00942638                      SAMNDCA630‐00942682      4/15/2014
             DX498        Email from Rangel to Schiller re Samsung's road to global domination ‐ APLNDC630‐0000743869                     APLNDC630‐0000743880      4/4/2014
                          Social Media Monitoring
             DX499        Shelley Jeng email with Attached FaceTime Over Cellular Presentation APL630DEF‐WH0002898279                     APL630DEF‐WH0002898306   4/21/2014                      Sealed in its entirety

             DX500        Carrier Channel Review                                                   APLNDC630‐0001850417                   APLNDC630‐0001850483     4/11/2014                      Sealed in its entirety,
                                                                                                                                                                                                  except pages 1, 12, 13,
                                                                                                                                                                                                  16‐18 and 20
             DX505        Hauser Exhibit I                                                         N/A                                    N/A                      4/8/2014
             DX508        Apple Inc.'s Supplemental Objections and Responses to Samsung's          N/A                                    N/A                      4/14/2014
                          Interrogatories (Nos. 1, 5, 7, 8, 10, 14, 15, 25, 26, 27, 39, and 41)

              JX01        U.S. Patent No. 5,946,647                                                N/A                                    N/A                       4/7/2014
              JX04        U.S. Patent No. 6,847,959                                                N/A                                    N/A                       4/7/2014
              JX07        U.S. Patent No. 7,761,414                                                N/A                                    N/A                       4/7/2014
              JX08        U.S. Patent No. 7,761,414 File History                                   APLNDC630‐0000049779                   APLNDC630‐0000050667     4/18/2014
              JX10        U.S. Patent No. 8.046,721                                                N/A                                    N/A                      4/4/2014
              JX13        U.S. Patent No. 8,074,172                                                N/A                                    N/A                       4/4/2014
              JX22        U.S. Patent No. 6,226,449                                                 SAMNDCA630‐007887580                  SAMNDCA630‐007887603     4/22/2014
              JX23        U.S. Patent No. 6,226,449 File History                                   SAMNDCA630‐00832686                    SAMNDCA630‐00833124      4/22/2014
              JX24        U.S. Patent No. 6,226,449 Assignment                                     SAMNDCA630‐00835429                    SAMNDCA630‐008835456     4/22/2014                      Portions highlighted in
                                                                                                                                                                                                  Dkt. 1771‐3 sealed
              JX25        U.S. Patent No. 5,579,239                                                 SAMNDCA630‐04260564                   SAMNDCA630‐04260575      4/21/2014




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                                                                                                                                                                                 INSTRUCTION
              JX26        U.S. Patent No. 5,579,239 File History                                   SAMNDCA630‐00832500                    SAMNDCA630‐00832685      4/21/2014
             JX28B        Physical Exhibit: Admire SCH‐R720 Android OS 2.3.4                       N/A                                    N/A                      4/4/2014
             JX28C        Physical Exhibit: Admire SCH‐R720 Android OS 2.3.6                       N/A                                    N/A                      4/7/2014
             JX29A        Physical Exhibit: Galaxy Nexus SCH‐I515 Android OS 4.0.2                 N/A                                    N/A                       4/7/2014
             JX29B        Physical Exhibit: Galaxy Nexus SCH‐1515 Android OS 4.0.4                 N/A                                    N/A                       4/4/2014
             JX29C        Physical Exhibit: Galaxy Nexus SPH‐L700 Android OS 4.0.4                 N/A                                    N/A                       4/7/2014
             JX29D        Physical Exhibit: Galaxy Nexus SCH‐1515 Android OS 4.1.1                 N/A                                    N/A                      4/4/2014
             JX29E        Physical Exhibit: Galaxy Nexus GT‐I9250 Android OS 4.1.1                 N/A                                    N/A                      4/7/2014
             JX29G        Physical Exhibit: Galaxy Nexus GT‐I9250 Android OS 4.2.2                 N/A                                    N/A                       4/7/2014
             JX29H        Physical Exhibit: Galaxy Nexus Android OS 4.1.1                          N/A                                    N/A                       4/7/2014
              JX29I       Physical Exhibit: Galaxy Nexus SCH‐I515 Android OS 4.0.2                 N/A                                    N/A                       4/7/2014
             JX30A        Physical Exhibit: Galaxy Note SGH‐1717 Android OS 2 3.6                  N/A                                    N/A                       4/4/2014
             JX30B        Physical Exhibit: Galaxy Note SGH‐1717 Android OS 4.1.2                  N/A                                    N/A                      4/7/2014
             JX30C        Physical Exhibit: Galaxy Note SGH‐1717 Android OS 2 3.6                  N/A                                    N/A                      4/7/2014
             JX31A        Physical Exhibit: Galaxy Note II SGH‐T889 Android OS 4.1.1               N/A                                    N/A                      4/7/2014
             JX31B        Physical Exhibit: Galaxy Note II SGH‐1317 Android OS 4.1.1               N/A                                    N/A                       4/7/2014
             JX31C        Physical Exhibit: Galaxy Note II SPH‐L900 Android OS 4.1.1               N/A                                    N/A                       4/7/2014
             JX32A        Physical Exhibit: Galaxy S II SGH‐T989 Android OS 4.0.4                  N/A                                    N/A                      4/7/2014
             JX32B        Physical Exhibit: Galaxy S II SGH‐1777 Android OS 4.0.3                  N/A                                    N/A                      4/7/2014
             JX32C        Physical Exhibit: Galaxy S II SGH‐1777 Android OS 2 3.6                  N/A                                    N/A                      4/4/2014
             JX32D        Physical Exhibit: Galaxy S II SGH‐T989 Android OS 2.3.6                  N/A                                    N/A                       4/7/2014
             JX32E        Physical Exhibit: Galaxy S II SGH‐1777 Android OS 2.3.4                  N/A                                    N/A                       4/7/2014
             JX32F        Physical Exhibit: Galaxy S II SGH‐T989 Android OS 4.0 3                  N/A                                    N/A                       4/7/2014
             JX33A        Physical Exhibit: Galaxy S II Epic 4G Touch SPH‐DT710 Android OS         N/A                                    N/A                      4/7/2014
                          2.3.6
             JX33B        Physical Exhibit: Galaxy S II Epic 4G Touch SPH‐D710 Android OS 2.3.6    N/A                                    N/A                      4/4/2014

             JX33C        Physical Exhibit: Galaxy S II Epic 4G Touch SPH‐D710 Android OS 4.0.4 N/A                                       N/A                      4/7/2014

             JX34A        Physical Exhibit: Galaxy S II Skyrocket SGH‐1727 Android OS 4.1.2        N/A                                    N/A                      4/7/2014

             JX34B        Physical Exhibit: Galaxy S II Skyrocket SGH‐1727 Android OS 2.3.6        N/A                                    N/A                      4/7/2014

             JX34C        Physical Exhibit: Galaxy S II Skyrocket SGH‐1727 Android OS 2.3.4        N/A                                    N/A                      4/4/2014

             JX34D        Physical Exhibit: Galaxy S II Skyrocket SGH‐1727 Android OS 4.0.4        N/A                                    N/A                      4/7/2014

             JX35A        Physical Exhibit: Galaxy S III SGH‐1747 Android OS 4.0.4                 N/A                                    N/A                      4/7/2014
             JX35B        Physical Exhibit: Galaxy S III SGH‐T999 Android OS 4 0.4                 N/A                                    N/A                      4/7/2014
             JX35C        Physical Exhibit: Galaxy S III SGH‐T999 Android OS 4 0.4                 N/A                                    N/A                      4/7/2014
             JX35D        Physical Exhibit: Galaxy S III SGH‐1747 Android OS 4.0.4                 N/A                                    N/A                      4/7/2014
             JX35E        Physical Exhibit: Galaxy S III SPH‐L710 Android OS 4.0.4                 N/A                                    N/A                      4/7/2014
             JX35F        Physical Exhibit: Galaxy S III SGH‐1747 Android OS 4.0.4                 N/A                                    N/A                      4/7/2014
             JX35G        Physical Exhibit: Galaxy S III SPH‐L710 Android OS 4.1.1                 N/A                                    N/A                      4/7/2014
             JX35H        Physical Exhibit: Galaxy S III SCH‐1535 Android OS 4.1.2                 N/A                                    N/A                      4/7/2014
              JX35I       Physical Exhibit: Galaxy S III SCH‐1535 Android OS 4.1.2                 N/A                                    N/A                      4/7/2014




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                                                                                                ADMITTED TRIAL EXHIBITS

      TRIAL EXHIBIT NO.                               DESCRIPTION                                           BEGBATES                                ENDBATES   ADMITTED    COURT'S LIMITING           SEALING
                                                                                                                                                                             INSTRUCTION
              JX35J       Physical Exhibit: Galaxy S III SGH‐T999 Android OS 4.1.1             N/A                                    N/A                      4/7/2014
              JX35L       Physical Exhibit: Galaxy S III SPH‐L710 Android OS 4.0.4             N/A                                    N/A                      4/7/2014
             JX35M        Physical Exhibit: Galaxy S III SGH‐T999 Android OS 4.1.1             N/A                                    N/A                      4/7/2014
             JX35N        Physical Exhibit: Galaxy S III SCH‐I535 Android OS 4.0.4                                                                             4/15/2014
             JX35O        Samsung Galaxy S III                                                                                                                 4/15/2014
             JX36A        Physical Exhibit: Galaxy Tab 2 (10.1) SGH‐1497 Android OS 4.0.4      N/A                                    N/A                      4/7/2014
             JX36B        Physical Exhibit: Galaxy Tab 2 (10.1) SCH‐1915 Android OS 4.0.4      N/A                                    N/A                      4/7/2014
              JX36C       Physical Exhibit: Galaxy Tab 2 (10.1) GT‐P5113TS Android OS 4.1.1    N/A                                    N/A                      4/7/2014

             JX36D        Physical Exhibit: Galaxy Tab 2 (10.1) SGH‐T779 Android OS 4.0.4      N/A                                    N/A                       4/7/2014
             JX37A        Physical Exhibit: Stratosphere SCH‐I405 Android OS 2.3.5             N/A                                    N/A                       4/4/2014
             JX37B        Physical Exhibit: Stratosphere SCH‐I405 Android OS 2.3.6             N/A                                    N/A                       4/7/2014
              JX38        Apple iPhone 4 (All Models)                                          N/A                                    N/A                      4/25/2014
              JX39        Apple iPhone 4S (All Models)                                         N/A                                    N/A                      4/21/2014
              JX40        Apple iPhone 5 (All Models)                                          N/A                                    N/A                      4/21/2014
             JX40B        Apple iPhone 5 (All Models)                                          N/A                                    N/A                      4/22/2014

             JX45A        Apple iPod touch (5th generation)                                     N/A                                   N/A                      4/21/2014
             JX46A        Apple iPod touch (4th generation)                                     N/A                                   N/A                      4/21/2014
             JX50A        Compilation of Samsung Android source code and accused application                                                                    4/8/2014                      Sealed in its entirety
                          source code
             JX50B        Compilation of Samsung Android source code and accused application                                                                   4/15/2014                      Sealed in its entirety
                          source code (webviewcore.java only)
             JX51A        Compilation of Google Android source code and accused application                                                                    4/8/2014                       Sealed in its entirety
                          source code
             JX52A        Compilation of Apple source code                                      N/A                                   N/A                      4/21/2014                      Sealed in its entirety
             JX53A        Compilation of Android Open Source Project source code                                                                                4/8/2014
              JX55        U.S. Patent No. 7,653,614 to Smith                                    SAMNDCA630‐07882284                   SAMNDCA630‐07882302      4/15/2014
              JX56        U.S. Patent No. 5,855,015 to Shoham                                   SAMNDCA630‐07881554                   SAMNDCA630‐07881569      4/15/2014
              JX59        Int’l Patent Pub. No. 2005/008899 A1 to Xrgomics                      SAMNDCA630‐06405638                   SAMNDCA630‐06405696      4/15/2014
              JX60        Int’l Patent No. WO 03/038569 A2 to Hypponen                          SAMNDCA630‐00966681                   SAMNDCA630‐00966713      4/15/2014
              JX72        Physical Exhibit: Galaxy Nexus Phone running version 2.7 of the       N/A                                   N/A                      4/15/2014
                          Google Search Application, Android OS 4.1.1
             PX102        Abstract Threaded Sync Adapter, Android Developers                    APLNDC630‐0000879625                  APLNDC630‐0000879628     4/22/2014
                          (http://developer.android.com/reference/android/content/AbstractTh
                          readedSyncAdapter.html)
             PX103        Baker et al., Megastore: Providing Scalable, Highly Available Storage APLNDC630‐0000879847                  APLNDC630‐0000879858     4/7/2014
                          for Interactive Services
                          (http://research google.com/pubs/pub36971.html)
             PX104        Corbett et al., Spanner: Google's Globally‐Distributed Database       APLNDC630‐0000879868                  APLNDC630‐879881         4/7/2014
                          (http://research google.com/archive/spanner.html)
             PX106        Nardi et al., Collaborative, programmable intelligent agents          APLNDC630‐0000109800                  APLNDC630‐0000109810     4/7/2014

             PX107        2011‐12 UX Roadmap: Opportunity Brief                                S‐ITC‐001735469                        S‐ITC‐001735553          4/7/2014
             PX110        Quick Search Box for Android: Search your phone and the web          APLNDC630‐0000171798                   APLNDC630‐0000171801     4/7/2014




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      TRIAL EXHIBIT NO.                               DESCRIPTION                                              BEGBATES                                ENDBATES   ADMITTED      COURT'S LIMITING                SEALING
                                                                                                                                                                                   INSTRUCTION
             PX113A       Walter Mossberg, "Testing out the iPhone," Wall Street Journal, June    APLNDC‐Y0000234932                     APLNDC‐Y0000234936       4/1/2014   Not to be considered for
                          27, 2007                                                                                                                                           the truth of what is
                                                                                                                                                                             stated
             PX115        Email from YoungGyun Imre [Recipients please! Reading required]       SAMNDCA630‐06279877                      SAMNDCA630‐06279886      4/7/2014
                          Samsung Corby TMO Responses
             PX116        Email from Erick Tseng re [Android‐product] Cross‐application Android GOOG‐NDCAL630‐00062054                   GOOG‐NDCAL630‐00062057   4/7/2014
                          UI issues we need toaddress
              PX118       January 2007 MacWorld Presentation                                    APLNDC‐Y0000066914                                                4/1/2014
              PX119       MIEUX ‐ Emotional UX: Make it Emotional UX                            SAMNDCA00206747                          SAMNDCA00206807          4/4/2014
              PX120       Behold3 Usability Evaluation Results                                  SAMNDCA00508318                          SAMNDCA00508411          4/4/2014
              PX121       Victory Usability Evaluation Results                                  S‐ITC‐500042803                          S‐ITC‐500042911          4/4/2014
             PX122A       Summary of iPhone Buyer Surveys                                       E.g. , APLNDC630‐0000127692              APLNDC630‐0000127715     4/1/2014
                                                                                                APLNDC630‐0001439288                     APLNDC630‐0001439387
                                                                                                APLNDC630‐0000149470                     APLNDC630‐0000149605
                                                                                                APLNDC630‐0000127252                     APLNDC630‐0000127293
                                                                                                APLNDC630‐0000167955                     APLNDC630‐0000168090
                                                                                                APLNDC630‐0000870318                     APLNDC630‐0000870456
                                                                                                APLNDC630‐0001233115                     APLNDC630‐0001233245
                                                                                                APLNDC630‐0001466887                     APLNDC630‐0001466934
                                                                                                APLNDC630‐0001463541                     APLNDC630‐0001463588
                                                                                                APLNDC630‐0001233406                     APLNDC630‐0001233487
                                                                                                APLNDC630‐0000937009                     APLNDC630‐0000937168
             PX123        Summary of Smartphone Buyer / Market / Owner Surveys                  E.g. , APLNDC630‐0001409994              APLNDC630‐0001410089     4/1/2014
                                                                                                APLNDC630‐0000177658                     APLNDC630‐0000177772
                                                                                                APLNDC630‐0001463186                     APLNDC630‐0001463251
                                                                                                APLNDC630‐0001342197                     APLNDC630‐0001342272
                                                                                                APLNDC630‐0000823415                     APLNDC630‐0000823466
                                                                                                APLNDC630‐0001467057                     APLNDC630‐0001467120
             PX127A       "The iPhone Matches Most of its Hype," NY Times, by David Pogue       APLNDC630‐0000171819                     APLNDC630‐0000171822     4/1/2014   Not to be considered for
                                                                                                                                                                             the truth of what is
                                                                                                                                                                             stated
             PX128        iPhone and iPad manufacturing capacity schedules                        APLNDC630‐0001120880                   APLNDC630‐0001120880     4/8/2014                              Sealed in its entirety
                                                                                                  APLNDC630‐0001120881                   APLNDC630‐0001120881
                                                                                                  APLNDC630‐Y00009018                    APLNDC630‐Y00009018
                                                                                                  APLNDC630‐Y00009021                    APLNDC630‐Y00009021
           PX132          August 2010 Presentation, Samsung's Use of Apple Patents in             APLNDC00000388                         APLNDC00000410           4/8/2014
       (pages 1‐16, 23)   Smartphones
           PX133          “Best Inventions of 2007,” Time, by Lev Grossman, November 1, 2007 APLNDC‐Y0000146961                          APLNDC‐Y0000146962       4/1/2014   Not to be considered for
                          (including photo of cover)                                                                                                                         the truth of what is
                                                                                                                                                                             stated
             PX134        “Patent Office Highlights Jobs’s Innovations,” New York Times, by       APLNDC‐Y0000233352                     APLNDC‐Y0000233352       4/1/2014   Not to be considered for
                          Brian X. Chen                                                                                                                                      the truth of what is
                                                                                                                                                                             stated
             PX135A       "Apple Waves Its Wand at the Phone," New York Times, by Davis           APLNDC‐Y0000235973                     APLNDC‐Y0000235976       4/1/2014   Not to be considered for
                          Pogue                                                                                                                                              the truth of what is
                                                                                                                                                                             stated




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      TRIAL EXHIBIT NO.                               DESCRIPTION                                             BEGBATES                                ENDBATES    ADMITTED       COURT'S LIMITING                SEALING
                                                                                                                                                                                   INSTRUCTION
             PX137B       TmoNews, Did Local (Universal) Search Get Restored in Galaxy SIII Jelly David Beren, “Did Local (Universal)                             4/11/2014
                          Bean Update? (http://www.tmonews.com/2012/11/did‐local‐universal Search Get Restored In Galaxy S III
                          search‐get‐restored‐in‐galaxy‐s‐iii‐jelly‐bean‐update/)                 Jelly Bean Update?,” TmoNews,
                                                                                                  Nov. 15, 2012
                                                                                                  (http://www.tmonews com/2012/1
                                                                                                  1/did‐local‐universalsearch‐get‐
                                                                                                  restored‐in‐galaxy‐s‐iii‐jelly‐bean‐
                                                                                                  update/)

             PX139        Summary of Hauser's Conjoint Survey ‐ Animations                        N/A                                    N/A                      4/8/2014
             PX140        Summary of Hauser's Conjoint Survey ‐ Screenshots                       N/A                                    N/A                      4/8/2014
             PX141        Summary of Hauser's Conjoint Survey ‐ Results                           N/A                                    N/A                      4/8/2014
             PX142        Summary of Christopher Vellturo's Damages Calculation                   N/A                                    N/A                      4/8/2014                               All pages sealed except
                                                                                                                                                                                                         for cover page
              PX143       Summary of Apple’s Sales of iPhone and iPad                             N/A                                    N/A                      4/1/2014
             PX144A       Summary of iPhone News Coverage                                         N/A                                    N/A                      4/1/2014    Not to be considered for
                                                                                                                                                                              the truth of what is
                                                                                                                                                                              stated
             PX145        GravityTank, Touch Portfolio: Rollout Strategy Recommendation Based SAMNDCA00178021                            SAMNDCA00178197          4/8/2014
                          on Consumer Insight
             PX146        Relative Evaluation Report on S1, iPhone                            SAMNDCA00203880                            SAMNDCA00204010          4/7/2014
             PX147        3G iPhone US market impact                                          SAMNDCA00251506                            SAMNDCA00251522          4/8/2014
             PX149        Email from Bong‐Hee Kim re Summary of Executive‐Level Meeting       SAMNDCA10247373                            SAMNDCA10247378          4/8/2014
                          Supervised by Head of Division (February 10)
             PX154        2011 Summary & Lessons Learned: 2012 Business Forecast              SAMNDCA11173802                            SAMNDCA11173812          4/8/2014                               Pages 2‐5 and 9‐10
                                                                                                                                                                                                         sealed
             PX156        STA Competitive Situation Paradigm Shift: HQ CFO                        SAMNDCA11545927                        SAMNDCA11546000          4/8/2014
             PX157        Amethyst, iPhone Usability Test Result                                  SAMNDCA20003761                        SAMNDCA20003857          4/4/2014
             PX163        Email from KeAndre Boggess re GS III Daily Conversation Digest 7/13     SAMNDCA630‐07441315                    SAMNDCA630‐07441318      4/8/2014

             PX168        Email from Sally Jeong re Trace & Swype related inquiry item            SAMNDCA630‐06716908                    SAMNDCA630‐06716918      4/4/2014
             PX169        Verizon SIP VOC Review Result                                           SAMNDCA630‐07696889                    SAMNDCA630‐07696893      4/4/2014


             PX172        High‐level pieces of Android Sync                                  GOOG‐NDCAL630‐00060860                      GOOG‐NDCAL630‐00060869    4/7/2014
             PX173        Android Project: Software Functional Requirements Document for     GOOG‐NDCAL630‐00065560                      GOOG‐NDCAL630‐00065627   4/11/2014
                          Release 1.0
             PX175        Intent, Android Developers                                         APLNDC630‐0001906681                        APLNDC630‐0001906767     4/7/2014
                          (http://developer.android.com/reference/android/content/Intent.htm
                          l)
             PX180        iPhone TV advertisement ("How To")                                 APLNDC‐X0000007535                                                   4/1/2014    Not to be considered for
                                                                                                                                                                              the truth of what is
                                                                                                                                                                              stated
             PX181        Email from Min Kyung Kim re Application of P8 Circle Lock case          SAMNDCA10506419                        SAMNDCA10506422          4/4/2014




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      TRIAL EXHIBIT NO.                              DESCRIPTION                                            BEGBATES                                ENDBATES   ADMITTED       COURT'S LIMITING                 SEALING
                                                                                                                                                                                INSTRUCTION
             PX193        Samsung Galaxy S3: Sprint Confirms OTA Update Disabling Universal N/A                                       N/A                      4/15/2014
                          Search, AT&T Follows Suit (http://www.ibtimes.com/samsung‐galaxy‐
                          s3‐sprint‐confirms‐ota‐update‐disabling‐universal‐search‐att‐follows‐
                          suit‐722264)
             PX196        Report: Android Gmail ‐ Android Latency Survey Findings Part 4        GOOG‐NDCAL630‐00063685                GOOG‐NDCAL630‐00063691   4/8/2014    Not to be considered for
                                                                                                                                                                           the truth of what is
                                                                                                                                                                           stated
             PX201        Global Strategy Group: Smartphone Business Strategy                  SAMNDCA10223664                        SAMNDCA10223795          4/21/2014                              Pages 11‐13, 60, 72, 79‐
                                                                                                                                                                                                      80, 87 and 116 sealed

             PX203        Beat Apple: Apple vs Samsung Consumer Insights                       SAMNDCA10389445                        SAMNDCA10389483          4/11/2014                              Pages
                                                                                                                                                                                                      3, 4, 7, 9‐16, 19‐21,
                                                                                                                                                                                                      23‐25, 28‐33,
                                                                                                                                                                                                      36‐38 sealed
             PX206        Email from Michael Pennington re Counter Tsunami Plan set up         SAMNDCA630‐06987115                    SAMNDCA630‐06987116      4/14/2014
             PX208        Untitled, Undated powerpoint presentation                            SAMNDCA630‐07687767                    SAMNDCA630‐07687770      4/21/2014                              Pages 1‐4 sealed
             PX214        GS Choi Visit to STA                                                 SAMNDCA00258674                        SAMNDCA00258827           4/8/2014
             PX215        Email from Todd Pendleton re Use Google to attack Apple?             SAMNDCA10448147                        SAMNDCA10448150          4/14/2014
             PX216        Business Ops & Planning: Apr. 2012 Monthly Dept Meeting              SAMNDCA630‐06444236                    SAMNDCA630‐06444268      4/14/2014                              Pages 5, 6 and 8 sealed

              PX219       Kepler Usability Evaluation Review Report                            S‐ITC‐010477381                        S‐ITC‐010477490          4/4/2014
             PX222A       Christopher Vellturo FRE 1006 Damages Summary                        N/A                                    N/A                      4/8/2014                               Pages 10‐13, 13A, 14‐22,
                                                                                                                                                                                                      24, 26, 27, 30, 31, 32, 34,
                                                                                                                                                                                                      35, 38, 39, 41, and 42
                                                                                                                                                                                                      sealed
             PX223A       Christopher Vellturo FRE 1006 Damages Summary                        N/A                                    N/A                      4/8/2014                               Pages 5‐8, 9, 11‐14, 15,
                                                                                                                                                                                                      17‐20, 21, 23‐26, 27, 29‐
                                                                                                                                                                                                      32, 33, 35, 44‐46, 55‐57,
                                                                                                                                                                                                      and 59‐63 sealed

             PX227        Email chain between Google and Samsung representatives, Nov. 25,     GOOG‐NDCAL630‐00069118                 GOOG‐NDCAL630‐00069124   4/22/2014                              Sealed in its entirety
                          2012 through Dec. 7, 2012
             PX228        Google‐Samsung Mobile Application Distribution Agreement, Jan. 1,    S‐ITC‐003816167                        S‐ITC‐003816180          4/22/2014
                          2011
             PX229        Google‐Samsung Strategic Marketing Agreement, Dec. 1, 2010           S‐ITC‐003853551                        S‐ITC‐003853562          4/22/2014                              Highlighted Portions of
                                                                                                                                                                                                      Paragraphs 5, 6, 8, 24
                                                                                                                                                                                                      sealed
             PX230        Set of User Guides for Samsung Admire                                SAMNDCA630‐00920057                    SAMNDCA630‐00920192      4/4/2014
             PX231        Set of User Guides for Samsung Galaxy Nexus                           APLNDC630‐0001899041                   APLNDC630‐0001899147    4/4/2014
             PX232        Set of User Guides for Samsung Galaxy Note                           APLNDC630‐0001899148                   APLNDC630‐0001899388     4/4/2014
                                                                                               APLNDC630‐0001899389                   APLNDC630‐0001899757
             PX233        Set of User Guides for Samsung Galaxy Note II                        APLNDC630‐0001899758                   APLNDC630‐0001900017     4/7/2014
                                                                                               APLNDC630‐0001900018                   APLNDC630‐0001900255
                                                                                               APLNDC630‐0001900256                   APLNDC630‐0001900657
                                                                                               APLNDC630‐0001900658                   APLNDC630‐0001900902
                                                                                               APLNDC630‐0001900903                   APLNDC630‐0001901125




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      TRIAL EXHIBIT NO.                                DESCRIPTION                                 BEGBATES                                ENDBATES   ADMITTED   COURT'S LIMITING   SEALING
                                                                                                                                                                   INSTRUCTION
             PX234        Set of User Guides for Samsung Galaxy S II                  SAMNDCA630‐00923282                    SAMNDCA630‐00923559      4/4/2014
                                                                                      APLNDC630‐0001901126                   APLNDC630‐0001901360
             PX235        Set of User Guides for Samsung Galaxy S II Epic 4G Touch    APLNDC630‐0000160976                   APLNDC630‐0000161176     4/4/2014
                                                                                      SAMNDCA630‐01053776                    SAMNDCA630‐01053797
                                                                                      SAMNDCA630‐05853461                    SAMNDCA630‐05853482
                                                                                      SAMNDCA630‐05855512                    SAMNDCA630‐05855555
             PX236        Set of User Guides for Galaxy S II Skyrocket                SAMNDCA630‐00924419                     SAMNDCA630‐00924624     4/4/2014
             PX237        Set of User Guides for Samsung Galaxy S III                 APLNDC630‐0001902652                   APLNDC630‐0001902865     4/7/2014
                                                                                      APLNDC630‐0001901361                   APLNDC630‐0001901611
                                                                                      APLNDC630‐0001901612                   APLNDC630‐0001901864
                                                                                      APLNDC630‐0001901865                   APLNDC630‐0001902118
                                                                                      APLNDC630‐0001902119                   APLNDC630‐0001902277
                                                                                      APLNDC630‐0001902278                   APLNDC630‐0001902651
                                                                                      APLNDC630‐0001902866                   APLNDC630‐0001903069
             PX238        Set of User Guides for Samsung Galaxy Tab 2 10.1            APLNDC630‐0001904873                   APLNDC630‐0001905060     4/7/2014
                                                                                      APLNDC630‐0001905895                   APLNDC630‐0001906061
                                                                                      APLNDC630‐0001905061                   APLNDC630‐0001905357
                                                                                      APLNDC630‐0001905358                   APLNDC630‐0001905507
                                                                                      APLNDC630‐0001905653                   APLNDC630‐0001905894
             PX239        Set of User Guides for Samsung Stratosphere                  APLNDC630‐0001903249                   APLNDC630‐0001903434    4/4/2014




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      TRIAL EXHIBIT NO.                               DESCRIPTION                                          BEGBATES                                ENDBATES   ADMITTED    COURT'S LIMITING           SEALING
                                                                                                                                                                            INSTRUCTION
             PX241        Set of Specification Sheets for Samsung Accused Products            APLNDC630‐0000159333                   APLNDC630‐0000159334     4/4/2014
                                                                                              APLNDC630‐0000879778                   APLNDC630‐0000879779
                                                                                              APLNDC630‐0000879780                   APLNDC630‐0000879781
                                                                                              APLNDC630‐0000160973                   APLNDC630‐0000160975
                                                                                              APLNDC630‐0000879821                   APLNDC630‐0000879822
                                                                                              APLNDC630‐0000879825                   APLNDC630‐0000879826
                                                                                              APLNDC630‐0000162108                   APLNDC630‐0000162109
                                                                                              APLNDC630‐0001903913                   APLNDC630‐0001903915
                                                                                              APLNDC630‐0000879819                   APLNDC630‐0000879820
                                                                                              APLNDC630‐0001903916                   APLNDC630‐0001903918
                                                                                              APLNDC630‐0001903919                   APLNDC630‐0001903921
                                                                                              APLNDC630‐0000879823                   APLNDC630‐0000879824
                                                                                              SAMNDCA630‐00924878                    SAMNDCA630‐00924886
                                                                                              APLNDC630‐0000879887                   APLNDC630‐0000879888
                                                                                              SAMNDCA630‐00922217                    SAMNDCA630‐00922224
                                                                                              APLNDC630‐0000879786                   APLNDC630‐0000879787
                                                                                              APLNDC630‐0000879788                   APLNDC630‐0000879789
                                                                                              APLNDC630‐0000879790                   APLNDC630‐0000879791
                                                                                              APLNDC630‐0000879792                   APLNDC630‐0000879793
                                                                                              APLNDC630‐0000879794                   APLNDC630‐0000879796
                                                                                              APLNDC630‐0000161385                   APLNDC630‐0000161387
                                                                                              APLNDC630‐0000879813                   APLNDC630‐0000879814
                                                                                              APLNDC630‐0000161177                   APLNDC630‐0000161178
                                                                                              APLNDC630‐0000879829                   APLNDC630‐0000879830
                                                                                              APLNDC630‐0000879831                   APLNDC630‐0000879832
                                                                                              APLNDC630‐0000879833                   APLNDC630‐0000879834
                                                                                              APLNDC630‐0000879835                   APLNDC630‐0000879838
             PX246        Patent Purchase Agreement                                           SAMNDCA630‐00835386                    SAMNDCA630‐00835405      4/21/2014                      Highlighted portions of
                                                                                                                                                                                             pages 1, 2, 4‐6, and 15
                                                                                                                                                                                             sealed
             PX248        ActionMedia II Product Briefs                                       161DOC000324                        161DOC000334                4/22/2014
             PX249        Understanding PC Video article (Intel)                              161DOC000570                        161DOC000581                4/22/2014
             PX251        1st Look Video Over Cellular Brochure                               SAMNDCA630‐00828677                 SAMNDCA630‐00828678         4/21/2014
             PX253        Faxed quote from AVTEX to Mitch Freeman and attachments             SAMNDCA630‐00830180                 SAMNDCA630‐00830191         4/22/2014
             PX254        Intel Smart Video Recorder Installation Guide                       ZINGERMANNDCA630‐00000149           ZINGERMANNDCA630‐00000192   4/22/2014
             PX255        iPhone 5 Teardown and Photos                                        Storer Rebuttal Report at page 249‐                             4/21/2014
                                                                                              254, 260‐261, 278‐280, 283‐284,
                                                                                              359
             PX257        iPhone 5 Bill of Material                                           APL630DEF‐WH0005285127              APL630DEF‐WH0005285307      4/22/2014                      Sealed in its entirety
             PX294        SOC User’s Manual                                                   APL630DEF‐WH0001749889              APL630DEF‐WH0001757765      4/22/2014                      sealed in its entirety
             PX300        Samsung's Third Supplemental Objections and Responses to Apple's                                                                    4/7/2014                       Pages 5‐17 sealed
                          Sixth Set of Interrgoatories (No. 41)




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